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            EXHIBIT C
                                           Case 2:19-cv-04773-CFK Document 1-6 Filed 10/15/19 Page 2 of 12

                                        PURCHASE ORDER                                       REVISION
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                                         PURCHASE ORDER                                                    REVISION
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                                                 Case 2:19-cv-04773-CFK Document 1-6 Filed 10/15/19 Page 4 of 12

                                          PURCHASE ORDER                                               REVISION
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                                              PURCHASE ORDER                                             REVISION
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                                             PURCHASE ORDER                                             REVISION
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                                         PURCHASE ORDER                                              REVISION
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                                           Case 2:19-cv-04773-CFK Document 1-6 Filed 10/15/19 Page 8 of 12

                                    PURCHASE ORDER                                                REVISION
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                                                    Case 2:19-cv-04773-CFK Document 1-6 Filed 10/15/19 Page 9 of 12

                                          PURCHASE ORDER                                                REVTSION
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                                               Case 2:19-cv-04773-CFK Document 1-6 Filed 10/15/19 Page 10 of 12

                                        PURCHASE ORDER                                               REVISION
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Greated by: VICKI ADAüS-TROI¡CÀtE                                                                     Authorized by: RICH YOEGEL HOU SElKYï'MfrMîY                                            PÀGE                       I
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                                         PURC}IASE ORDER                                           REVISION
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